
PER CURIAM.
11WRIT. NOT CONSIDERED. Untimely filed pursuant to La.S.Ct. Rule X § 5.
Relator has now exhausted his right to obtain post-conviction relief in state court. Similar to federal habeas- relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure'envisions the filing of a second or successive application only under the narrow circumstances provided in- La. C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars -against successive filings .mandatory. Relator has filed an application for post-conviction relief in the District Court, and the District Court’s ruling denying relief is now final. ■ Hereafter, unless he can -show that one of the narrow exceptions-authorizing the filing of a successive application applies, relator has exhausted, his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
